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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

                                                 *
NELSON ARIEL UMANZOR CHAVEZ,                     *
                                                 *
                      Petitioner,                *
v.                                               *           Civ. No. 8:25-cv-01634-SAG
                                                 *
KRISTI NOEM, et al.,                             *
                                                 *
                      Respondents.               *
                                                 *
*       *       *      *      *       *      *       *       *      *       *        *        *

                                             ORDER

        Following a status conference held today, under the authority granted by the All Writs Act,

28 U.S.C. § 1651(a), this Court extends the injunction set by Amended Standing Order 2025-01,

entered at ECF 2, until further order of this Court. Specifically, the Government/Respondents,

including all those acting for them or on their behalf, are ENJOINED and RESTRAINED from

removing Petitioner Nelson Ariel Umanzor Chavez from the continental United States or altering

his legal status.

        As discussed, the parties have agreed to an expedited briefing schedule at the request of

Respondents. Respondents shall submit their filing no later than Friday, June 6, 2025 at 5:00 p.m.

Petitioner shall file any opposition no later than Monday, June 16, 2025 at 5:00 p.m. Any reply

should be filed by Wednesday, June 18, 2025 at 5:00 p.m.


Dated: May 29, 2025                                                  /s/
                                                     Stephanie A. Gallagher
                                                     United States District Judge
